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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

BRAD SPRAGUE,

             Plaintiff,

      v.
                                                  Case No.
ILLINOIS STATE POLICE, LEO P.
SCHMITZ, Director, JAMES WINTERS,
CHRISTOPHER TRAME, and DARRYL
BOGARD, in their individual capacities,
and the STATE OF ILLINOIS,

             Defendants.                          Plaintiff Demands Trial by Jury

                                     COMPLAINT

      Plaintiff BRAD SPRAGUE (“Sprague”), through his undersigned counsel,

complaining against Defendants, ILLINOIS STATE POLICE, LEO P. SCHMITZ,

Director, JAMES WINTERS, CHRISTOPHER TRAME, and DARRYL BOGARD, in their

individual capacities, and the STATE OF ILLINOIS, states as follows:

      1.     Plaintiff brings this action to redress violations of Title VII of the Civil

Rights Act for race discrimination (Count I); violations of Title VII of the Civil Rights

Act for retaliation (Count II); violations of the Age Discrimination in Employment Act

(“ADEA”), as amended, pursuant to 29 U.S.C. § 621 et seq. (Count III); violations of the

Equal Protection Clause to the United States Constitution pursuant to 42 U.S.C. § 1983
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for race discrimination (Count IV), and violations of the Illinois State Officials and

Employees Ethics Act, Article 15, Whistleblower Protection, 5 ILCS 430/15 (Count V).

                                   Jurisdiction and Venue

       2.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331, 42 U.S.C. § 1983

and 28 U.S.C. § 1343. This Court has supplemental jurisdiction over state law claims

pursuant to 28 U.S.C. § 1367.

       3.      Venue is proper in this judicial district under 28 U.S.C. §1391(b) and (c)

because Plaintiff and all Defendants either reside in this district or have their principal

place of business in this district, and all events giving rise to Plaintiff’s claims occurred

within this district.

                                            Parties

       4.      Plaintiff Sprague has been employed with the Illinois State Police since

November 1995.

       5.      Plaintiff is Caucasian.

       6.      Plaintiff is also over 40 years of age.

       7.      Defendant ILLINOIS STATE POLICE (“ISP”) is a municipal body

incorporated under the laws of the State of Illinois, and administers itself through the

State of Illinois.




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       8.      Defendant LEO P. SCHMITZ (“Schmitz”) is sued in his individual

capacity. Defendant Schmitz served as the Director of the ISP during the relevant times

alleged herein.

       9.      Defendant Schmitz has final policy making authority and/or was

delegated with final policy making authority as the Director.

       10.     Defendant Schmitz acted under color of law.

       11.     Defendant JAMES WINTERS (“Winters”) is sued in his individual

capacity. At all times relevant herein, Defendant Winters was a Lieutenant Colonel for

the Illinois State Police.

       12.     Defendant Winters was delegated with final policy making authority with

regard to his acts and conduct alleged herein.

       13.     Defendant Winters acted under color of law.

       14.     Defendant CHRISTOPHER TRAME (“Trame”) is sued in his individual

capacity. At all times relevant herein, Defendant Trame was a Lieutenant Colonel for

the Illinois State Police.

       15.     Defendant Trame was delegated with final policy making authority with

regard to his acts and conduct alleged herein.

       16.     Defendant Trame acted under color of law.




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       17.    Defendant DARRYL BOGARD (“Bogard”) is sued in his individual

capacity. Defendant Bogard is a Captain for the Illinois State Police, and acted as the

District Commander for District 5 during all times relevant herein.

       18.    Defendant Bogard was delegated with final policy making authority with

regard to his acts and conduct alleged herein.

       19.    Defendant Bogard acted under color of law.

       20.    Defendant Captain Bogard is African American.

       21.    The State of Illinois is sued as indemnitor and for injunctive and equitable

relief for which there is no immunity.

                               Administrative Proceedings

       22.    On June 26, 2017, Plaintiff filed a charge of discrimination with the Equal

Employment Opportunity Commission (“EEOC”), alleging discrimination based upon

his race and age, and retaliation.

       23.    On January 29, 2018, Plaintiff received a notice of right to sue from the

EEOC on his charge.

       24.    Plaintiff has timely filed this complaint within 90 days of the receipt of the

Notice of Right to Sue.

                          Facts Upon Which Claims Are Based

       25.    In November of 1995, Plaintiff was hired by the Illinois State Police as a

State Trooper.


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       26.    In or about November of 2007, Plaintiff became a Fleet Officer for District

5.

       27.    In or about April 2012, Plaintiff tested for and was promoted to Sergeant.

       28.    At all relevant times, Plaintiff satisfactorily performed his duties as a

Sergeant with the Illinois State Police.

       29.    In or about January 2015, Plaintiff was assigned as the Acting Master

Sergeant on the afternoon shift.

       30.    In or about October 2015, Plaintiff was removed as the Acting Master

Sergeant because another Master Sergeant transferred into District 5.

       31.    In or about January 2016, Plaintiff was again assigned Acting Master

Sergeant on the afternoon shift because there was a vacancy and because Plaintiff was

qualified to serve in the position of Master Sergeant.

       32.    In or about March 2016, there was a posting for an open promotion to

Master Sergeant.

       33.    Plaintiff had tested for the merit rank promotion to Master Sergeant and

made the certified promotion list to be promoted.

       34.    In or about March 2016, Plaintiff interviewed for the promotion to Master

Sergeant.

       35.    Plaintiff was told by one of the interviewers that he did excellent during

the interview and did not need to change anything.


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         36.   Plaintiff was one of two top candidates for the promotion. The other top

candidate was also Caucasian.

         37.   The certified promotion list is valid for 2 years, and promotions must be

made off of the promotion list.

         38.   Defendant Captain Bogard, as a Captain over District 5, had final decision

making authority as to who was and was not promoted for his District.

         39.   In or about March 2016, Defendant Bogard told Plaintiff that he was not

selected for the Master Sergeant position, but did not give Plaintiff a reason as to why

he was not promoted at that time.

         40.   Plaintiff also still remained in the Acting Master Sergeant position.

         41.   In or about late March 2016, Plaintiff met with Defendant Bogard to

discuss why he was not promoted to Master Sergeant, even though he was highly

qualified for the promotion. Defendant Bogard did not give Plaintiff a reason at that

time.

         42.   On or about March 23, 2016, Defendant Bogard submitted a memorandum

to Defendant Lieutenant Colonel Winters stating that he was requesting “District 5 not

fill the vacant [Master Sergeant] position despite having ‘Highly Qualified

Candidates,’” referring to Plaintiff and another Caucasian male over 40 years of age.




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       43.    In the March 23, 2016 memorandum, Defendant Bogard requested that the

vacant Master Sergeant position not be filled to prevent Plaintiff from being promoted

to Master Sergeant for discriminatory reasons.

       44.    Defendant Bogard again requested that the open promotion position not

be filled and did not select Plaintiff for promotion to Master Sergeant because of

Plaintiff’s race (Caucasian).

       45.    Defendant Bogard again requested that the open promotion position not

be filled and did not select Plaintiff for promotion to Master Sergeant because of

Plaintiff’s age (over 40).

       46.    Defendants ISP, Winters, and Schmitz were aware of and condoned,

tolerated, and/or turned a blind eye to Defendant Bogard’s discriminatory practices,

and failed to take effective remedial action to ensure that discrimination did not occur

in the work place.

       47.    Defendants ISP, Winters, and Schmitz approved of Defendant Bogard

withdrawing the open promotion to Master Sergeant despite the fact that Plaintiff was

highly qualified for the promotion by Defendant Bogard’s own admissions in the

memorandum.

       48.    Defendants ISP, Winters, and Schmitz would never have allowed the

Captain to withdraw a promotion if the candidate had been non‐Caucasian.




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      49.    In or about August 2016, there was another posting for an open promotion

to Master Sergeant.

      50.    Interviews were conducted off of the same certified promotion list.

      51.    One of the persons on the interview panel stated that Plaintiff and the

other Caucasian male were highly qualified for the promotion.

      52.    Defendant Bogard told the Region Commander that he did not want to

promote Plaintiff or the other Caucasian male even though both were highly qualified

for the promotion.

      53.    On or about August 30, 2016, Defendant Bogard told Plaintiff that he was

not going to promote Plaintiff to the Master Sergeant position.

      54.    When Plaintiff asked Defendant Bogard why he was not promoted to

Master Sergeant, Defendant Bogard told him in effect: “I wish you had as good

communication skills with everything else as you did when you are teaching,” and told

Plaintiff that he “protects his people too much,” referencing Plaintiff standing up for a

female trooper that was being discriminated against.

      55.    On or about August 30, 2016, Defendant Bogard wrote a memorandum to

the Lieutenant Colonel stating that he was requesting “District 5 not fill the vacant

[Master Sergeant] position despite having ‘Highly Qualified Candidates,’” again

referring to Plaintiff and another Caucasian male over 40 years of age.




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       56.    Defendant Bogard withdrew the open Master Sergeant promotion to

prevent the two Caucasian males from being promoted, despite the fact that they were

highly qualified, which Defendant Bogard admitted.

       57.    Defendant Bogard again requested that the open promotion position not

be filled and did not select Plaintiff for promotion to Master Sergeant because of

Plaintiff’s race (Caucasian).

       58.    Defendant Bogard again requested that the open promotion position not

be filled and did not select Plaintiff for promotion to Master Sergeant because of

Plaintiff’s age (over 40).

       59.    There was never a time, at least in the last 20 years, that an open

promotion was not filled and was withdrawn twice back‐to‐back.

       60.    Defendants ISP, Trame, and Schmitz were aware of and condoned,

tolerated, and/or turned a blind eye to Defendant Bogard’s discriminatory practices,

and failed to take effective remedial action to ensure that discrimination did not occur

in the work place.

       61.    Defendants ISP, Trame, and Schmitz approved of Defendant Bogard

withdrawing the open promotion to Master Sergeant despite the fact that Plaintiff was

highly qualified for the promotion by Defendant Bogard’s own admissions in the

memorandum.




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      62.    Defendants ISP, Trame, and Schmitz would never have allowed the

Captain to withdraw a promotion if the candidate had been non‐Caucasian.

      63.    On or about August 31, 2016, Defendant Bogard with the knowledge,

consent, and acquiescence of Defendants ISP, Trame, and Schmitz, removed Plaintiff

from the Acting Master Sergeant position, even though he was highly qualified for that

position and satisfactorily performing the duties.

      64.    Following Defendant Bogard removing Plaintiff from the Acting Master

Sergeant position and after having been denied the promotion to Master Sergeant,

Plaintiff complained to his commanding officer, Major Steve Loan, that he believed that

Defendant Bogard was discriminating against him.

      65.    In or about September 2016, Defendant Bogard changed the Table of

Organization for District 5 to remove the Master Sergeant position because he did not

want to have to promote Plaintiff or the other Caucasian male to that position.

      66.    On or about October 6, 2016, Plaintiff again complained to his

commanding officers that he felt he was being discriminated against.

      67.    On or about October 19, 2016, Plaintiff contacted the ISP Equal

Employment Office (“EEO”) and made a complaint of discrimination.

      68.    In October 2016, Plaintiff again tested for the certified promotional list to

Master Sergeant, and made the list.




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      69.    In or about January 2018, Defendants again posted for an open Master

Sergeant position.

      70.    Plaintiff interviewed for the position.

      71.    Plaintiff was again told after the interview that he was highly qualified for

the promotion to Master Sergeant.

      72.    Defendant Bogard selected a candidate for the promotion to Master

Sergeant that was less qualified than Plaintiff and was younger than Plaintiff and non‐

Caucasian.

      73.    Plaintiff is far more qualified than the individual that Defendant Bogard

selected to be promoted to Master Sergeant in January 2018.

      74.    Plaintiff is far more qualified than others that were promoted to Master

Sergeant by other Commanders or Captains.

      75.    Despite Plaintiff’s complaints of discrimination by Defendant Bogard, all

Defendants have failed to remedy the discriminatory practices.

      76.    Defendants ISP, Schmitz, Winters, and Trame condoned, tolerated, and/or

turned a blind eye to Defendant Bogard’s discriminatory practices, and failed to take

effective remedial action to ensure that discrimination and retaliation did not occur in

the work place.

      77.    Upon information and belief and based on admissions by Defendants’

command staff, there have been other complaints of discrimination and Bogard, and


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Defendants ISP, Schmitz, Winters, and Trame have failed to discipline or terminate

Defendant Bogard, despite his discriminatory and retaliatory practices.

       78.    After Plaintiff complained about Defendant Bogard’s discriminatory

practices, he was retaliated against, including having his shift changed to a less

desirable shift, and being denied other promotions to Master Sergeant.

       79.    Plaintiff filed a charge of discrimination and retaliation with the EEOC as

a result of Defendants’ discriminatory and retaliatory practices and failure to promote

Plaintiff to the Master Sergeant position because of his race and age.

                                        COUNT I

                            (Title VII – Race Discrimination
                                          v. ISP)

       80.    Plaintiff restates and realleges by reference paragraphs 1 through 79 above

as though fully set forth herein.

       81.    The actions of Defendant ISP as perpetrated by its agents and as described

and complained of above, are unlawful employment practices in that they likely have

the effect of discriminating against, depriving and tending to deprive equal

employment to, and otherwise adversely affecting Plaintiff because of his race, in

violation of Title VII.

       82.    Defendant has engaged in a policy, pattern, and practice of discrimination

based on race.

       83.    Defendants intentionally discriminated against Plaintiff based on his race

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by denying him equal opportunities, including but not limited to: being denied

promotions.

       84.    Defendants treated similarly situated non‐Caucasian officers better than

Plaintiff because of their race.

       85.    The actions of Defendants in intentionally discriminating against Plaintiff

have caused Plaintiff great mental anguish, humiliation, degradation, physical and

emotional pain and suffering, inconvenience, lost wages and benefits, future pecuniary

losses, and other consequential damages.

       WHEREFORE, Plaintiff respectfully requests:

              A.      All wages and benefits Plaintiff would have received but for the
                      discrimination, including but not limited to back pay, front pay,
                      future pecuniary losses, and pre‐judgment interest;

              B.      Compensatory damages in an amount to be determined at trial;

              C.      A permanent injunction enjoining the Defendant from engaging in
                      the discriminatory practices complained of herein;

              D.      A permanent injunction requiring Defendants to promote Plaintiff
                      to Master Sergeant;

              E.      A permanent injunction requiring the Defendant to adopt
                      employment practices and policies in accord and conformity with
                      the requirements of Title VII;

              F.      The Court retain jurisdiction of this case until such time as it is
                      assured that Defendant has remedied the policies and practices
                      complained of herein and is determined to be in full compliance
                      with the law;



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               G.     An award of reasonable attorneys’ fees, costs, and litigation
                      expenses; and

               H.     Such other relief as the Court may deem just or equitable.

                                          COUNT II

                                    (Title VII – Retaliation
                                            v. ISP)

       86.     Plaintiff restates and realleges by reference paragraphs 1 through 79 above

as though fully set forth herein.

       87.     The actions of Defendant as perpetrated by its agents and as described

and complained of above, are unlawful employment practices in that they likely have

the effect of retaliating against, depriving and tending to deprive equal employment to,

and otherwise adversely affecting Plaintiff because of his complaints of discrimination,

in violation of Title VII.

       88.     Defendant has engaged in a policy, pattern, and practice of retaliating

against employees who complain of discrimination.

       89.     Defendants intentionally retaliated against Plaintiff because of his

complaints by denying him equal opportunities, including but not limited to: having his

shift changed, being removed form the Acting Master Sergeant position, and being

denied promotions to Master Sergeant after he complained.

       90.     Defendants treated similarly situated males better than Plaintiff because of

his complaints of discrimination.


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      91.    The actions of Defendants in retaliating against Plaintiff have caused

Plaintiff great mental anguish, humiliation, degradation, physical and emotional pain

and suffering, inconvenience, lost wages and benefits, future pecuniary losses, and

other consequential damages.

      WHEREFORE, Plaintiff respectfully requests:

             A.    All wages and benefits Plaintiff would have received but for the
                   retaliation, including but not limited to back pay, front pay, future
                   pecuniary losses, and pre‐judgment interest;

             B.    Compensatory damages in an amount to be determined at trial;

             C.    A permanent injunction enjoining the Defendant from engaging in
                   the retaliatory practices complained of herein;

             D.    A permanent injunction requiring Defendants to promote Plaintiff
                   to Master Sergeant;

             E.    A permanent injunction requiring the Defendant to adopt
                   employment practices and policies in accord and conformity with
                   the requirements of Title VII;

             F.    The Court retain jurisdiction of this case until such time as it is
                   assured that Defendant has remedied the policies and practices
                   complained of herein and is determined to be in full compliance
                   with the law;

             G.    An award of reasonable attorneys’ fees, costs, and litigation
                   expenses; and

             H.    Such other relief as the Court may deem just or equitable.




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                                        COUNT III

                   (Age Discrimination in Employment Act Violation
                                        v. ISP)

       92.    Plaintiff restates and realleges by reference paragraphs 1 through 79 above

as though fully set forth herein.

       93.    At all relevant times, Defendants were and are an “employer” within the

meaning of the ADEA.

       94.    At all relevant times, Plaintiff was employed by Defendants and was an

“employee” of Defendants within the meaning of the ADEA.

       95.    Plaintiff filed charges of discrimination with the Equal Employment

Opportunity Commission alleging age discrimination more than sixty (60) days prior to

bringing this claim.

       96.    Defendants acted intentionally and in bad faith when denying Plaintiff

promotions based on his age.

       97.    By reason of the foregoing, Plaintiff was discriminated against because of

his age in violation of 29 U.S.C. § 623(a).

       98.    Defendants’ conduct has resulted in damages to Plaintiff including but not

limited to lost wages and benefits, future pecuniary losses, attorneys fees, and other

damages.




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       WHEREFORE, Plaintiff respectfully requests:

              A.     All wages and benefits Plaintiff would have received but for the
                     ADEA violations, including but not limited to back pay, front pay,
                     pre‐judgment interest, and restoration of job assignments;

              B.     A permanent injunction enjoining Defendants from engaging in the
                     practices complained of herein;

              C.     A permanent injunction requiring Defendants to promote Plaintiff
                     to Master Sergeant;

              D.     A permanent injunction requiring that Defendants adopt
                     employment practices and policies in accord and conformity with
                     the requirements of the ADEA;

              E.     The Court retain jurisdiction of this case until such time as it is
                     assured that Defendants have remedied the policies and practices
                     complained of herein and are determined to be in full compliance
                     with the law;

              F.     An award of reasonable attorneys’ fees, costs, and litigation
                     expenses; and

              G.     Such other relief as the Court may deem just or equitable.

                                      COUNT IV

                          (§ 1983 Violation of Equal Protection
                                   v. All Defendants)

       99.    Plaintiff restates and realleges by reference paragraphs 1 through 79 above

as though fully set forth herein.

       100.   Defendants intentionally subjected Plaintiff to unequal and discriminatory

treatment that altered the terms and conditions of Plaintiff’s employment.

       101.   The actions of Defendants against Plaintiff violate his equal protection

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right to be free from race discrimination under the Fourteenth Amendment of the

United States Constitution and 42 U.S.C. § 1983.

       102.    The actions of Defendants were intentional, willful, and malicious and/or

in deliberate indifference for Plaintiff’s rights as secured by 42 U.S.C. § 1983.

       103.    The ISP Defendant is sued under 42 U.S.C. § 1983 for injunctive relief only,

as the State of Illinois and State agencies like the ISP do not have immunity from

injunctive relief.

       104.    The actions of Defendants in intentionally engaging in and condoning

discrimination against Plaintiff based on his rage caused Plaintiff great mental anguish,

humiliation, degradation, physical and emotional pain and suffering, inconvenience,

lost wages and benefits, future pecuniary losses, and other consequential damages.

       WHEREFORE, Plaintiff respectfully requests:

               A.    All wages and benefits Plaintiff would have received but for the
                     discrimination, including pre‐judgment interest;

               B.    Compensatory damages in an amount to be determined at trial;

               C.    A permanent injunction enjoining the Defendants from engaging in
                     the discriminatory practices complained of herein;

               D.    A permanent injunction requiring Defendants to promote Plaintiff
                     to Master Sergeant;

               E.    A permanent injunction requiring the Defendants adopt
                     employment practices and policies in accord and conformity with
                     the requirements of the United States Constitution and pursuant to
                     42 U.S.C. § 1983;


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               F.     The Court retain jurisdiction of this case until such time as it is
                      assured that Defendants have remedied the policies and practices
                      complained of herein and are determined to be in full compliance
                      with the law;

               G.     Punitive damages as allowed by law against Defendant Bogart;

               H.     An award of reasonable attorneys’ fees, costs, and litigation
                      expenses; and

               I.     Such other relief as the Court may deem just or equitable.

                                        COUNT V

                (Violation of the State Officials and Employees Ethics Act
                                    v. All Defendants)

        105.   Plaintiff restates and realleges by reference paragraphs 1 through 79 above

as though fully set forth herein.

        106.   The State Officials and Employees Ethics Act (“the Act”) states in relevant

part:

        Protected activity. An officer, a member, a State employee, or a State
        agency shall not take any retaliatory action against a State employee
        because the State employee does any of the following:

        (1) Discloses or threatens to disclose to a supervisor or to a public body an
        activity, policy, or practice of any officer, member, State agency, or other
        State employee that the State employee reasonably believes is in violation
        of a law, rule, or regulation.

        (2) Provides information to or testifies before any public body conducting
        an investigation, hearing, or inquiry into any violation of a law, rule, or
        regulation by any officer, member, State agency, or other State employee.

5 ILCS 430/15‐10.


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       107.   Plaintiff engaged in protected activity in that he disclosed to supervisors

and public body an activity that he reasonably believed is a violation of law, rule, or

regulation.

       108.   Plaintiff also provided information to the ISP EEO and the EEOC, which

were conducting an investigation or inquiry into a violation of law, rule, or regulation.

       109.   Defendants, collectively and individually, violated the Act by retaliating

against Plaintiff by, including but not limited to, having his shift changed to a less

desirable shift, and being denied other promotions to Master Sergeant.

       110.   Defendants ISP, Schmitz, Winters, and Trame also failed to take effective

remedial action to ensure that Defendant Bogard did not discriminate or retaliate

against Plaintiff and other Caucasian employees.

       111.   Plaintiffs protected activity described above was a contributing factor in

Defendants’ retaliation against Plaintiff

       112.   Defendants cannot prove by clear and convincing evidence that they

would have taken the same retaliatory actions against Plaintiff had it not been for his

protected activity.

       113.   As a result of Defendants’ unlawful actions, Plaintiff has suffered

substantial losses, including, but not limited to, lost wages and benefits, consequential

damages as a result of lost income, damage to career prospects and reputation, and

emotional distress, embarrassment and humiliation.


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  WHEREFORE, Plaintiff respectfully requests:

        A.     All remedies necessary to make Plaintiff whole as provided for in
               the Act;

        B.     All wages and benefits Plaintiff would have received but for the
               retaliation, including pre‐judgment interest;

        C.     Compensatory damages in an amount to be determined at trial;

        D.     Two times the amount of back pay as provided for under the Act;

        E.     A permanent injunction enjoining the Defendants from engaging in
               the retaliatory practices complained of herein;

        F.     A permanent injunction requiring Defendants to promote Plaintiff
               to Master Sergeant;

        G.     A permanent injunction requiring Defendants to adopt
               employment practices and policies in accord and conformity with
               the requirements of the Act;

        H.     The Court retain jurisdiction of this case until such time as it is
               assured that Defendants have remedied the policies and practices
               complained of herein and are determined to be in full compliance
               with the law;

        I.     Punitive damages as allowed by law against Defendant Bogart;

        J.     An award of reasonable attorneys’ fees, costs, and litigation
               expenses; and

        K.     Such other relief as the Court may deem just or equitable.




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                                      Respectfully Submitted,

                                      BRAD SPRAGUE



                                      /s/Dana L. Kurtz

                                      Plaintiff’s Attorney

                                      Electronically filed on April 26, 2018

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